                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT GREENEVILLE

         UNITED STATES OF AMERICA,
                   Plaintiff,
                                                                   No. 2:19-cr-14
             v.
                                                                   Judge Greer
         XIAORONG YOU,
                   Defendant.

                           JOINT MOTION FOR RECONSIDERATION

         The Court recently scheduled a resentencing hearing and ordered the parties to file briefs

  regarding their proposed intended-loss calculations. (Docs. 443, 444, 445, Orders.) The parties

  jointly request the Court to reconsider and vacate those orders as prematurely entered because

  jurisdiction has not yet returned to this Court from the Sixth Circuit Court of Appeals.

         A jury convicted defendant of multiple offenses related to her theft of trade secrets, and

  this Court sentenced her to 168 months in prison. (Doc. 422, Judgment.) She appealed, and—on

  July 11, 2023—the Sixth Circuit affirmed her convictions, vacated her sentence, and remanded

  for resentencing. (Doc. 442, Sixth Circuit Opinion.) The Sixth Circuit has not yet issued its

  mandate, however, and defendant has filed a petition for rehearing en banc.

         It is well-settled that “the filing of [a] notice of appeal . . . deprives the district court of

  jurisdiction to act in matters involving the merits of the appeal.” United States v. Holloway, 740

  F.2d 1373, 1382 (6th Cir. 1984). It is equally well-settled that only the appellate court’s issuance

  of its mandate returns jurisdiction to the district court. E.g., 6th Cir. I.O.P. 41(a) (describing the

  mandate as “the document by which [the Sixth Circuit] relinquishes jurisdiction and authorizes

  the originating court . . . to enforce [the Sixth Circuit’s] judgment”); United States v. Sutton,

  862 F.3d 547, 558 (6th Cir. 2017) (a “district court regains jurisdiction” when “the mandate is




Case 2:19-cr-00014-JRG-CRW Document 447 Filed 08/04/23 Page 1 of 3 PageID #: 8427
  received and filed by the district court”); United States v. Young, 657 F.3d 408, 412 (6th Cir.

  2011) (recognizing that a “case could continue” in the district court only after the mandate

  issued). That critical event has not yet happened in this case and will not occur until after the

  Sixth Circuit rules on defendant’s petition for rehearing en banc. See Fed. R. App. P. 41(b).

  Until then, this Court lacks authority to proceed in this case.

         The parties thus ask this Court to reconsider and vacate its recent orders.

                                                 Respectfully submitted,



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                                                    2

Case 2:19-cr-00014-JRG-CRW Document 447 Filed 08/04/23 Page 2 of 3 PageID #: 8428
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                                        3

Case 2:19-cr-00014-JRG-CRW Document 447 Filed 08/04/23 Page 3 of 3 PageID #: 8429
